      Case 3:07-cr-00042-RLY-CSW                           Document 670               Filed 06/16/16           Page 1 of 2 PageID #:
                                                                  2164
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                    Rosendo Barragan-Cruz                                  )
                                                                           )    Case No: 3:07CR00042-006
                                                                           )    USM No: 08838-028
Date of Original Judgment:                            01/05/2010           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Barragan-Cruz expressly waived his right to appeal the sentence imposed on any ground. Therefore, he is
    not eligible for a sentence reduction under Amendment 782.



                                                                                                          A CERTIFIED TRUE COPY
                                                                                                          Laura A. Briggs, Clerk
                                                                                                          U.S. District Court
                                                                                                          Southern District of Indiana

                                                                                                          By
                                                                                                                                Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                                             shall remain in effect.
IT IS SO ORDERED.

Order Date:            06/15/2016
                                                                                                Judge’s signature
                                                                            ________________________________
                                                                            LARRY J. McKINNEY, JUDGE
Effective Date:                                                           Honorable Larry J. McKinney, Sr. U.S. District Court Judge
                     (if different from order date)
                                                                            United States District      Court
                                                                                              Printed name and title
                                                                            Southern District of Indiana
Case 3:07-cr-00042-RLY-CSW        Document 670   Filed 06/16/16   Page 2 of 2 PageID #:
                                         2165




 Distribution:

 Rosendo Barragan-Cruz
 Reg. No. 08838-028
 Federal Correctional Facility - Schuykill
 P.O. Box 759
 Minersville, PA 17954

 Michelle Patricia Brady
 UNITED STATES ATTORNEY'S OFFICE
 michelle.brady@usdoj.gov

 Matthias David Onderak
 UNITED STATES ATTORNEY'S OFFICE - EV
 Matthias.Onderak@usdoj.gov
